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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                  BENTON DIVISION

                                                       CASE NO. 3:13-cv-00099-MJR-DGW
HOPE BOWSHER,

       Plaintiff,

v.

AUDUBON FINANCIAL BUREAU, LLC
and ADAM D. MARCH, individually,

      Defendants.
_____________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

                                      NATURE OF ACTION

       1.      This is an action brought pursuant to the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq. and the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227 et seq.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,

and 47 U.S.C. § 227(b)(3).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), as the acts and

transactions giving rise to Plaintiff’s action occurred in this district, Plaintiff resides in this

district, and Defendants transact business in this district.

                                              PARTIES

       4.      Plaintiff Hope Bowsher (“Plaintiff”) is a natural person who at all relevant times

resided in the State of Illinois, County of Franklin, and City of West Frankfort.

       5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).


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       6.      Defendant Audubon Financial Bureau, LLC (“Audubon”) is a limited liability

company who at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

       7.      Audubon is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       8.      Defendant Adam D. March (“Mr. March”) is an individual who is an owner of

Audubon, and at all relevant times, was engaged by use of the mails and telephone, in the

business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

       9.      Upon information and good-faith belief, as an owner of Audubon, Mr. March was

regularly engaged, directly and indirectly in the collection of Plaintiff’s debt.

       10.     Upon information and good-faith belief, as an owner of Audubon, Mr. March was

personally involved in the collection of Plaintiff’s debt.

       11.     Upon information and good-faith belief, as an owner of Audubon, Mr. March was

materially involved in the collection of Plaintiff’s debt.

       12.     Upon information and good-faith belief, as an owner of Audubon, Mr. March

materially participated in Audubon’s debt collection activities.

       13.     Upon information and good-faith belief, as an owner of Audubon, Mr. March was

involved in the day-to-day operations of Audubon’s debt collection business.

       14.     Upon information and good-faith belief, as an owner of Audubon, Mr. March

exercised control over the affairs of Audubon’s debt collection business.

       15.     Upon information and good-faith belief, Mr. March created or approved the script

used by Audubon’s debt collector employees in leaving messages for consumers.

       16.     Mr. March is a “debt collector” as defined by 15 U.S.C. § 1692a(6).




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                                  FACTUAL ALLEGATIONS

       17.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due, a creditor other than Audubon.

       18.     Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be owed

or due, a creditor other than Audubon, arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes.

       19.     Audubon uses instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

to collect, directly or indirectly, debts owed or due, or asserted to be owed or due, another.

       20.     In connection with the collection of an alleged debt in default (the “Debt”),

Audubon placed a call to Plaintiff’s cellular telephone on December 7, 2012 at 2:00 P.M., and at

that time, left the following pre-recorded voicemail message:

               Our office has been asked to speak with Hope Bowsher. We are
               requesting to speak with you so all parties to sign within the
               complaint can be made aware of the issue at hand. A timely
               response is crucial to the outcome of this issue. One of our senior
               advisors will gladly assist you at this time by pressing one on your
               touch tone dial. We can also be reached directly by calling 1-866-
               595-2541. Once again, the number to be reached is 1-866-595-
               2541. This is an attempt to collect a debt and any or all
               information obtained will be used for that purpose.

       21.     In connection with the collection of the Debt, Audubon placed a call to Plaintiff’s

cellular telephone on December 31, 2012 at 1:56 P.M., and at that time, left the following pre-

recorded voicemail message:

               Our office has been asked to speak with Hope Bowsher. We are
               requesting to speak with you so all parties to sign within the
               complaint can be made aware of the issue at hand. A timely
               response is crucial to the outcome of this issue. One of our senior


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                advisors will gladly assist you at this time by pressing one on your
                touch tone dial. We can also be reached directly by calling 1-866-
                595-2541. Once again, the number to be reached is 1-866-595-
                2541. This is an attempt to collect a debt and any or all
                information obtained will be used for that purpose.

        22.     Audubon placed a call to Plaintiff’s cellular telephone on January 3, 2013 at 1:51

P.M., and at that time, left the following pre-recorded voicemail message:

                Our office has been asked to speak with Hope Bowsher. We are
                requesting to speak with you so all parties to sign within the
                complaint can be made aware of the issue at hand. A timely
                response is crucial to the outcome of this issue. One of our senior
                advisors will gladly assist you at this time by pressing one on your
                touch tone dial. We can also be reached directly by calling 1-866-
                595-2541. Once again, the number to be reached is 1-866-595-
                2541. This is an attempt to collect a debt and any or all
                information obtained will be used for that purpose.

        23.     Audubon placed a call to Plaintiff’s cellular telephone on January 7, 2013 at 10:30

A.M., and at that time, left the following pre-recorded voicemail message:

                Our office has been asked to speak with Hope Bowsher. We are
                requesting to speak with you so all parties to sign within the
                complaint can be made aware of the issue at hand. A timely
                response is crucial to the outcome of this issue. One of our senior
                advisors will gladly assist you at this time by pressing one on your
                touch tone dial. We can also be reached directly by calling 1-866-
                595-2541. Once again, the number to be reached is 1-866-595-
                2541. This is an attempt to collect a debt and any or all
                information obtained will be used for that purpose.

        24.     Audubon failed to disclose its true corporate and/or business name in its

December 7, 2012, December 31, 2012, January 3, 2013, and January 7, 2013 voicemail

messages.

        25.     By failing to disclose its true corporate and/or business name in its December 7,

2012, December 31, 2012, January 3, 2013, and January 7, 2013 voicemail messages, Audubon

failed to meaningfully disclose its identity to Plaintiff.



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        26.     In its December 7, 2012, December 31, 2012, January 3, 2013, and January 7,

2013 voicemail messages, Audubon falsely represented the legal status of Plaintiff’s Debt by

stating that Audubon needed to speak with Plaintiff regarding a “complaint,” when upon

information and good-faith belief, there was no such complaint against Plaintiff.

        27.     Upon information and good-faith belief, it was not “crucial” that Plaintiff returned

Audubon’s calls, as Audubon was placing routine collection calls, which continued over the

course of a few weeks.

        28.     Further, in its December 7, 2012, December 31, 2012, January 3, 2013, and

January 7, 2013 voicemail messages, Audubon conveyed a false sense of urgency to Plaintiff for

the purpose of compelling Plaintiff to communicate with Audubon.

        29.     In its December 7, 2012, December 31, 2012, January 3, 2013, and January 7,

2013 voicemail messages, Audubon delivered a voicemail message to Plaintiff’s cellular

telephone using an artificial or pre-recorded voice.

        30.     Upon information and good-faith belief, the telephone calls identified above were

placed to Plaintiff’s cellular telephone using an automatic telephone dialing system.

        31.     Audubon did not place any telephone calls to Plaintiff for emergency purposes.

        32.     Audubon did not have Plaintiff’s prior express consent to make any telephone

calls to Plaintiff’s cellular telephone.

        33.     Upon information and good-faith belief, Audubon placed the telephone calls to

Plaintiff identified above voluntarily.

        34.     Upon information and good-faith belief, Audubon placed the telephone calls to

Plaintiff identified above under its own free will.




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         35.      Upon information and good-faith belief, Audubon had knowledge that it was

using an automatic telephone dialing system to make and/or place the telephone calls identified

above.

         36.      Upon information and good-faith belief, Audubon intended to use an automatic

telephone dialing system to make and/or place the telephone calls identified above.

         37.      Upon information and good-faith belief, Audubon maintains business records that

show all calls Audubon placed to Plaintiff’s cellular telephone.

                                         COUNT I
                               VIOLATION OF 15 U.S.C. § 1692d(6)
                                        AUDUBON

         38.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

Complaint as if restated in their entirety.

         39.      Audubon violated 15 U.S.C. § 1692d(6) by placing telephone calls without

meaningfully disclosing the caller’s identity.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Audubon violated 15 U.S.C. § 1692d(6);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                  the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                  pursuant to 15 U.S.C. § 1692k(a)(3);

               e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                  law; and

               f) Awarding such other and further relief as the Court may deem just and proper.



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                                      COUNT II
                             VIOLATION OF 15 U.S.C. § 1692d(6)
                                     MR. MARCH

       40.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

Complaint as if restated in their entirety.

       41.      Audubon violated 15 U.S.C. § 1692d(6) by placing telephone calls without

meaningfully disclosing the caller’s identity.

       42.      Mr. March is personally liable for Audubon’s conduct, absent the need to pierce

the corporate veil, as a result of his involvement in the day-to-day management of Audubon’s

debt collection business, his responsibility for day-to-day supervision of Audubon’s debt

collector employees, his personal involvement in the collection of Plaintiff’s alleged debt, his

material involvement in the collection of Plaintiff’s alleged debt, and his exercise of control over

the affairs of Audubon’s debt collection business.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Mr. March violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem just and proper.




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                                       COUNT III
                             VIOLATION OF 15 U.S.C. § 1692e(2)(A)
                                       AUDUBON

        43.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

        44.      Audubon violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

 amount, or legal status of Plaintiff’s alleged debt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Audubon violated 15 U.S.C. § 1692e(2)(A);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                 the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                 pursuant to 15 U.S.C. § 1692k(a)(3);

              e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                 law; and

              f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT IV
                             VIOLATION OF 15 U.S.C. § 1692e(2)(A)
                                      MR. MARCH

        45.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

        46.      Audubon violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

 amount, or legal status of Plaintiff’s alleged debt.




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        47.      Mr. March is personally liable for Audubon’s conduct, absent the need to pierce

 the corporate veil, as a result of his involvement in the day-to-day management of Audubon’s

 debt collection business, his responsibility for day-to-day supervision of Audubon’s debt

 collector employees, his personal involvement in the collection of Plaintiff’s alleged debt, his

 material involvement in the collection of Plaintiff’s alleged debt, and his exercise of control over

 the affairs of Audubon’s debt collection business.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Mr. March violated 15 U.S.C. § 1692e(2)(A);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                 the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                 pursuant to 15 U.S.C. § 1692k(a)(3);

              e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                 law; and

              f) Awarding such other and further relief as the Court may deem just and proper.

                                        COUNT V
                              VIOLATION OF 15 U.S.C. § 1692e(10)
                                       AUDUBON

        48.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

        49.      Audubon violated 15 U.S.C. § 1692e(10) by using false representations or

 deceptive practices in connection with the collection of an alleged debt, including, but not

 limited to: misrepresenting the legal status of Plaintiff’s alleged debt; and conveying a false



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 sense of urgency in attempting to collect a debt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Audubon violated 15 U.S.C. § 1692e(10);

              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                 the amount of $1,000.00;

              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                 pursuant to 15 U.S.C. § 1692k(a)(3);

              e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                 law; and

              f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT VI
                              VIOLATION OF 15 U.S.C. § 1692e(10)
                                      MR. MARCH

        50.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

        51.      Audubon violated 15 U.S.C. § 1692e(10) by using false representations or

 deceptive practices in connection with the collection of an alleged debt from Plaintiff.

        52.      Mr. March is personally liable for Audubon’s conduct, absent the need to pierce

 the corporate veil, as a result of his involvement in the day-to-day management of Audubon’s

 debt collection business, his responsibility for day-to-day supervision of Audubon’s debt

 collector employees, his personal involvement in the collection of Plaintiff’s alleged debt, his

 material involvement in the collection of Plaintiff’s alleged debt, and his exercise of control over

 the affairs of Audubon’s debt collection business.



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          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                a) Adjudging that Mr. March violated 15 U.S.C. § 1692e(10);

                b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                   the amount of $1,000.00;

                c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

                d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                   pursuant to 15 U.S.C. § 1692k(a)(3);

                e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                   law; and

                f) Awarding such other and further relief as the Court may deem just and proper.

                                         COUNT VII
                              VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)
                                          AUDUBON

          53.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

          54.      Audubon violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and knowingly

 placing non-emergency calls to Plaintiff’s cellular telephone, without the prior express consent

 of Plaintiff, using an automatic telephone dialing system and/or an artificial or pre-recorded

 voice.

          WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                a) Adjudging that Audubon violated 47 U.S.C. § 227(b)(1)(A)(iii);

                b) Enjoining Audubon from placing any further telephone calls to Plaintiff in

                   violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(A);




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                c) Awarding Plaintiff statutory damages in the amount of $500.00 per violation,

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

                d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

                e) Awarding Plaintiff treble damages, pursuant to 47 U.S.C. § 227(b)(3);

                f) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

                g) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                   law; and

                h) Awarding such other and further relief as the Court may deem just and proper.

                                         COUNT VIII
                              VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)
                                         MR. MARCH

          55.      Plaintiff incorporates herein by reference Paragraphs 1 through 37 of this

 Complaint as if restated in their entirety.

          56.      Audubon violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and knowingly

 placing non-emergency calls to Plaintiff’s cellular telephone, without the prior express consent

 of Plaintiff, using an automatic telephone dialing system and/or an artificial or pre-recorded

 voice.

          57.      Mr. March is personally liable for Audubon’s conduct, absent the need to pierce

 the corporate veil, as a result of his involvement in the day-to-day management of Audubon’s

 debt collection business, his responsibility for day-to-day supervision of Audubon’s debt

 collector employees, his personal involvement in the collection of Plaintiff’s alleged debt, his

 material involvement in the collection of Plaintiff’s alleged debt, and his exercise of control over

 the affairs of Audubon’s debt collection business.

          WHEREFORE, Plaintiff prays for relief and judgment, as follows:



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             a) Adjudging that Audubon violated 47 U.S.C. § 227(b)(1)(A)(iii);

             b) Enjoining Audubon from placing any further telephone calls to Plaintiff in

                violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(A);

             c) Awarding Plaintiff statutory damages in the amount of $500.00 per violation,

                pursuant to 47 U.S.C. § 227(b)(3)(B);

             d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

             e) Awarding Plaintiff treble damages, pursuant to 47 U.S.C. § 227(b)(3);

             f) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action;

             g) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             h) Awarding such other and further relief as the Court may deem just and proper.

                                         TRIAL BY JURY

       58.      Plaintiff is entitled to and hereby demands a trial by jury.



       Respectfully submitted, this 1st day of February, 2013.

                                                    Respectfully submitted,
                                                    HOPE BOWSHER


                                                    By:/s/Alex D. Weisberg
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                                                    Illinois Bar No. 6271510
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